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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION

KEVIN WARD,                                                 )
                                                            )
                  Plaintiff,                                )
                                                            )
         v.                                                 )             No. 4:20-cv-01093-SPM
                                                            )
STANLEY PAYNE, et al.,                                      )
                                                            )
                  Defendants.                               )

                                      MEMORANDUM AND ORDER

         This matter is before the Court on plaintiff Kevin Ward’s motion for an extension of time

in which to file his amended complaint and pay the initial partial filing fee. 1 (Docket No. 14). In

the motion, plaintiff states that due to mail issues at the Eastern Reception, Diagnostic, and

Correctional Center, he did not receive the Court’s order directing him to file an amended

complaint with sufficient time to comply.

         Good cause being shown, the Court finds that the motion should be granted. Plaintiff will

be given an additional thirty days from the date of this order in which to file his amended complaint

on a Court form, pursuant to the instructions set forth in the Court’s order of September 11, 2020.

The Clerk of Court will be directed to send to plaintiff a copy of the Court’s prisoner civil rights

form, as well as a copy of the Court’s September 11, 2020 order. (Docket No. 10). Plaintiff is

advised that failure to comply with this order within thirty days will result in the dismissal of this

action without prejudice and without further notice.

         Accordingly,




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  Plaintiff’s motion also requests additional time to pay the initial partial filing fee of $1.50. However, the Court has
already received a check from plaintiff for $4.00, which covers the initial partial filing fee.
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       IT IS HEREBY ORDERED that plaintiff’s motion for an extension of time in which to

file an amended complaint (Docket No. 14) is GRANTED.

       IT IS FURTHER ORDERED that the Clerk of Court is directed to send to plaintiff a

copy of the Court’s prisoner civil rights complaint form.

       IT IS FURTHER ORDERED that the Clerk of Court is directed to send to plaintiff a

copy of the Court’s order of September 11, 2020 (Docket No. 10).

       IT IS FURTHER ORDERED that plaintiff shall file an amended complaint on the Court-

provided form within thirty (30) days of the date of this order, pursuant to the instructions set

forth in the Court’s order of September 11, 2020.

       IT IS FURTHER ORDERED that if plaintiff does not file an amended complaint on the

Court-form within thirty (30) days, this action will be dismissed without prejudice and without

further notice.

       IT IS FURTHER ORDERED that upon receipt of plaintiff’s amended complaint, the

Court will review it pursuant to 28 U.S.C. § 1915.



                                                 SHIRLEY PADMORE MENSAH
                                                 UNITED STATES MAGISTRATE JUDGE

Dated this 19th day of October, 2020.




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